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            Exhibit “B”
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                                Current on Bloomberg Law as of 2023-04-19 11:24:48

                                                U.S. Bankruptcy Court
                                    Eastern District of Pennsylvania (Philadelphia)
                                        Bankruptcy Petition #: 20-10939-pmm




Edwell T. Henry, II

 Date Filed:                         Feb 16, 2020

 Assigned to:                        Judge Patricia M. Mayer

 LINKS:
 Creditor List
 Claims Register

   Chapter 13
   Voluntary
   Asset
   Claims Register
   Debtor disposition: Dismissed for failure to make plan
   payments
   Debtor dismissed: 02/21/2023
   Plan confirmed: 06/16/2020
   341 meeting: 04/27/2020


Parties and Attorneys

Debtor                              Edwell T. Henry, II
                                    706 B. Sedgefield Drive
                                    Mt. Laurel, NJ 08054
                                    BURLINGTON-NJ
                                    SSN / ITIN: xxx-xx-0394

   Representation                   BRENNA HOPE
                                    MENDELSOHN
                                    Mendelsohn & Mendelsohn, PC
                                    637 Walnut Street

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                                                                                                                         // PAGE 1
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                                     Reading, PA 19601
                                     (610) 374-8088
                                     Fax: (610) 478-1260
                                     tobykmendelsohn@comcast.net


Trustee                              WILLIAM C. MILLER, Esq.
                                     Office of the Chapter 13 Standing Trustee
                                     P.O. Box 40837
                                     Philadelphia, PA 19107
                                     215-627-1377
                                     TERMINATED: 10/01/2021

   Representation                    WILLIAM C. MILLER, Esq.
                                     Office of the Chapter 13
                                     Standing Trustee
                                     P.O. Box 40837
                                     Philadelphia, PA 19107
                                     (215) 627-1377
                                     ecfemails@ph13trustee.com
                                     TERMINATED: 10/01/2021


   Trustee                           KENNETH E. WEST
                                     Office of the Chapter 13 Standing Trustee
                                     1234 Market Street - Suite 1813
                                     Philadelphia, PA 19107
                                     215-627-1377


   U.S. Trustee                      United States Trustee
                                     Office of the U.S. Trustee
                                     Robert N.C. Nix Federal Building
                                     Suite 320
                                     Philadelphia, PA 19107
                                     (215) 597-4411


Docket Entries
Numbers shown are court assigned numbers.

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Creditor ListClaims Register

 Entry #            Filing Date          Description
 1                  Feb 16, 2020         Chapter 13 Voluntary Petition for Individual . Fee Amount $310 Filed by Edwell T.
                                         Henry II. Government Proof of Claim Deadline: 08/14/2020. (MENDELSOHN,
                                         BRENNA) (Entered: 02/16/2020) (51 pgs)

 2                  Feb 16, 2020         Matrix Filed. Number of pages filed: 3, Filed by BRENNA HOPE MENDELSOHN on
                                         behalf of Edwell T. Henry II. (MENDELSOHN, BRENNA) (Entered: 02/16/2020)

 3                  Feb 16, 2020         Statement of Social Security Number Received. Filed by BRENNA HOPE
                                         MENDELSOHN on behalf of Edwell T. Henry II. (MENDELSOHN, BRENNA) (Entered:
                                         02/16/2020)

 4                  Feb 16, 2020         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment
                                         Period for 5 Years Form 122C-1. Disposable Income Is Determined , Chapter 13
                                         Calculation of Your Disposable Income Form 122C-2 Filed by BRENNA HOPE
                                         MENDELSOHN on behalf of Edwell T. Henry II. (MENDELSOHN, BRENNA) (Entered:
                                         02/16/2020) (11 pgs)

                    Feb 16, 2020         Receipt of Voluntary Petition (Chapter 13)(20-10939) [misc,volp13a] ( 310.00) Filing
                                         Fee. Receipt number 22202093. Fee Amount $ 310.00. (re: Doc# 1) (U.S. Treasury)
                                         (Entered: 02/16/2020)

 5                  Feb 16, 2020         Chapter 13 Plan Filed by Edwell T. Henry II. (MENDELSOHN, BRENNA) (Entered: 02/
                                         16/2020) (8 pgs)

 6                  Feb 17, 2020         Certificate of Credit Counseling Filed by BRENNA HOPE MENDELSOHN on behalf of
                                         Edwell T. Henry II. (MENDELSOHN, BRENNA) (Entered: 02/17/2020) (1 pg)

 7                  Feb 17, 2020         Employee Income Records Filed by BRENNA HOPE MENDELSOHN on behalf of
                                         Edwell T. Henry II. (MENDELSOHN, BRENNA) (Entered: 02/17/2020) (4 pgs)

                    Feb 18, 2020         WILLIAM C. MILLER, Esq. added to case. (D., Stacey) (Entered: 02/18/2020)

 8                  Feb 19, 2020         Notice of Appearance and Request for Notice by JILL MANUEL-COUGHLIN Filed by
                                         JILL MANUEL-COUGHLIN on behalf of WELLS FARGO BANK, N.A.. (MANUEL-
                                         COUGHLIN, JILL) (Entered: 02/19/2020) (1 pg)

 9                  Feb 20, 2020         Meeting of Creditors. The Debtor has filed a Plan. This Plan proposes payment to the
                                         trustee of $314.00 per month for 60 months. Filed by WILLIAM C. MILLER, Esq..
                                         341(a) meeting to be held on 4/8/2020 at 9:30 AM at 1234 Market Street. Objection to
                                         Dischargeability of Certain Debts due: 6/7/2020. Proofs of Claims due by 4/26/2020.
                                         Government Proof of Claim Deadline: 08/14/2020.Confirmation Hearing scheduled 4/
                                         28/2020 at 10:00 AM at nix1 - courtroom #1. (Miller, William) (Entered: 02/20/2020) (2
                                         pgs)

 10                 Feb 23, 2020         BNC Certificate of Mailing - Meeting of Creditors. Number of Notices Mailed: (related
                                         document(s) (Related Doc # 9)). No. of Notices: 9. Notice Date 02/23/2020. (Admin.)
                                         (Entered: 02/24/2020) (4 pgs)

 11                 Feb 26, 2020         Objection to Confirmation of Plan Filed by BMW Bank of North America (related
                                         document(s)5). (Attachments: # 1 Exhibit # 2 Certificate of Service # 3 Proposed
                                         Order)(SCHWARTZ, JASON) (Entered: 02/26/2020) (12 pgs; 4 docs)

 12                 Feb 28, 2020         Creditor Request for Notices Filed by BMW Bank of North America, c/o AIS Portfolio

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 Entry #            Filing Date          Description
                                         Services, LP. (Sawarkar, Ketan) (Entered: 02/28/2020) (1 pg)

 13                 Feb 28, 2020         Creditor Request for Notices Filed by BMW Bank of North America, c/o AIS Portfolio
                                         Services, LP. (Sawarkar, Ketan) (Entered: 02/28/2020) (1 pg)

 14                 Apr 5, 2020          Document in re: THE 341 MEETING OF CREDITORS Filed by WILLIAM C. MILLER,
                                         Esq. on behalf of WILLIAM C. MILLER, Esq. (related document(s)9). (MILLER, Esq.,
                                         WILLIAM) (Entered: 04/05/2020) (1 pg)

 15                 Apr 7, 2020          Meeting of Creditors Continued. Reason for continuance:.. 341(a) meeting to be held
                                         on 4/27/2020 at 10:00 AM. The meeting will be a telephonic / video conference.
                                         (MILLER, Esq., WILLIAM) (Entered: 04/07/2020)

 16                 Apr 7, 2020          Document in re: THE 341 MEETING OF CREDITORS Filed by WILLIAM C. MILLER,
                                         Esq. on behalf of WILLIAM C. MILLER, Esq. (related document(s) 15 ). (MILLER, Esq.,
                                         WILLIAM) (Entered: 04/07/2020) (1 pg)

 17                 Apr 8, 2020          Meeting of Creditors - Creditors. The Debtor has filed a Plan. This Plan proposes
                                         payment to the trustee of $314.00 per month for 60 months. Filed by WILLIAM C.
                                         MILLER, Esq. . 341(a) meeting to be held on 4/27/2020 at 10:00 AM at ALTERNATE
                                         TELEPHONIC CONFERENCE. (B., Keith) (Entered: 04/08/2020) (2 pgs)

 18                 Apr 10, 2020         BNC Certificate of Mailing - Meeting of Creditors. Number of Notices Mailed: (related
                                         document(s) (Related Doc # 17)). No. of Notices: 12. Notice Date 04/10/2020. (Admin.)
                                         (Entered: 04/11/2020) (4 pgs)

 19                 Apr 14, 2020         Transfer of Claim Transfer Agreement 3001 (e) 2 Transferor: OneMain Financial
                                         (Claim No. 2) To Portfolio Recovery Associates, LLC. Fee Amount $25 To Portfolio
                                         Recovery Associates, LLCPOB 41067Norfolk, VA 23541 Filed by PRA Receivables
                                         Management LLC. (Hardy, Carol) (Entered: 04/14/2020) (4 pgs; 2 docs)

                    Apr 14, 2020         Receipt of Transfer of Claim(20-10939-elf) [claims,trclm] ( 25.00) Filing Fee. Receipt
                                         number 22373418. Fee Amount $ 25.00. (re: Doc# 19) (U.S. Treasury) (Entered: 04/
                                         14/2020)

 20                 Apr 16, 2020         BNC Certificate of Mailing - Transfer of Claim. Number of Notices Mailed: (related
                                         document(s) (Related Doc # 19)). No. of Notices: 0. Notice Date 04/16/2020. (Admin.)
                                         (Entered: 04/17/2020) (2 pgs)

 22                 Apr 28, 2020         Hearing Continued on Confirmation Hearing scheduled 6/16/2020 at 10:00 AM at nix1 -
                                         courtroom #1. (D., Stacey) Modified on 6/8/2020 (D., Stacey). (Entered: 04/29/2020)

 21                 Apr 29, 2020         Chapter 13 Debtor's Certifications regarding Domestic Support Obligations and Section
                                         522(q) Filed by BRENNA HOPE MENDELSOHN on behalf of Edwell T. Henry II.
                                         (MENDELSOHN, BRENNA) (Entered: 04/29/2020) (2 pgs)

                    Apr 29, 2020         Meeting of Creditors Held and Concluded on: 4/27/2020. (MILLER, Esq., WILLIAM)
                                         (Entered: 04/29/2020)

 23                 Apr 30, 2020         Objection to Confirmation of Plan Filed by WILLIAM C. MILLER, Esq. (related
                                         document(s)5). (Attachments: # 1 Proposed Order)(Miller, William) (Entered: 04/30/
                                         2020) (2 pgs; 2 docs)

 24                 Apr 30, 2020         Certificate of Service Filed by William C. Miller on behalf of WILLIAM C. MILLER, Esq.
                                         (related document(s)23). (Miller, William) (Entered: 04/30/2020) (1 pg)



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 Entry #            Filing Date          Description
 25                 May 1, 2020          Motion to Dismiss Case. see attached motion Filed by WILLIAM C. MILLER, Esq.
                                         Represented by William C. Miller (Counsel). (Attachments: # 1 Proposed Order) (Miller,
                                         William) (Entered: 05/01/2020) (2 pgs; 2 docs)

 26                 May 1, 2020          Notice of (related document(s): 25 Motion to Dismiss Case. see attached motion ) Filed
                                         by WILLIAM C. MILLER, Esq.. Hearing scheduled 6/16/2020 at 10:00 AM at nix1 -
                                         courtroom #1. (Miller, William) (Entered: 05/01/2020) (2 pgs)

 27                 May 1, 2020          Certificate of Service Filed by William C. Miller on behalf of WILLIAM C. MILLER, Esq.
                                         (related document(s)25, 26). (Miller, William) (Entered: 05/01/2020) (1 pg)

 28                 May 5, 2020          Stipulation of Settlement By BMW Bank of North America and Between Edwell T.
                                         Henry, II Filed by JASON BRETT SCHWARTZ on behalf of BMW Bank of North
                                         America (related document(s)11). (SCHWARTZ, JASON) (Entered: 05/05/2020) (2
                                         pgs)

 29                 May 6, 2020          First Amended Chapter 13 Plan Filed by Edwell T. Henry II (related document(s)5).
                                         (Attachments: # 1 Service List)(MENDELSOHN, BRENNA) (Entered: 05/06/2020) (9
                                         pgs; 2 docs)

 30                 May 6, 2020          Notice of Change of Address Filed by BRENNA HOPE MENDELSOHN on behalf of
                                         Edwell T. Henry II. (Attachments: # 1 Service List) (MENDELSOHN, BRENNA)
                                         (Entered: 05/06/2020) (2 pgs; 2 docs)

 31                 May 6, 2020          Application for Compensation for BRENNA HOPE MENDELSOHN, Debtor's Attorney,
                                         Period: to, Fee: $4250.00, Expenses: $. Filed by BRENNA HOPE MENDELSOHN
                                         Represented by Self(Counsel). (Attachments: # 1 Exhibit A # 2 Notice # 3 Service List
                                         # 4 Proposed Order) (MENDELSOHN, BRENNA) (Entered: 05/06/2020) (6 pgs; 5
                                         docs)

 32                 May 7, 2020          Praecipe to Withdraw Objection to Confirmation Filed by JASON BRETT SCHWARTZ
                                         on behalf of BMW Bank of North America (related document(s)11). (SCHWARTZ,
                                         JASON) (Entered: 05/07/2020) (1 pg)

 33                 May 8, 2020          Order re: Granting the Stipulation of Settlement By BMW Bank of North America and
                                         Between Edwell T. Henry, II Filed by JASON BRETT SCHWARTZ on behalf of BMW
                                         Bank of North America (related document(s)28). (D., Stacey) (Entered: 05/08/2020) (2
                                         pgs)

 34                 May 10, 2020         BNC Certificate of Mailing - PDF Document. (related document(s) (Related Doc # 33)).
                                         No. of Notices: 1. Notice Date 05/10/2020. (Admin.) (Entered: 05/11/2020) (3 pgs)

 35                 Jun 16, 2020         Pre-Confirmation Certification of Compliance with Post Petition Obligations in
                                         Accordance with 11 U.S.C. Section 1325 (a)(8) and (a)(9) Filed by BRENNA HOPE
                                         MENDELSOHN on behalf of Edwell T. Henry II (related document(s)29).
                                         (MENDELSOHN, BRENNA) (Entered: 06/16/2020) (1 pg)

 38                 Jun 16, 2020         Hearing Held on 25 Motion to Dismiss Case. see attached motion Filed by WILLIAM C.
                                         MILLER, Esq. Represented by William C. Miller (Counsel). (Attachments: # 1 Proposed
                                         Order) filed by Trustee WILLIAM C. MILLER, Esq. (related document(s),25).
                                         Withdrawn. (D., Stacey) (Entered: 06/17/2020)

 39                 Jun 16, 2020         Confirmation Hearing Held on 6-16-20. Order entered. (D., Stacey) (Entered: 06/17/
                                         2020)

 40                 Jun 16, 2020         Order Confirming Chapter 13 Plan. (D., Stacey) (Entered: 06/17/2020) (1 pg)

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 Entry #            Filing Date          Description
 36                 Jun 17, 2020         Trustee was duly appointed to serve as the Standing Trustee pursuant to Section 1302
                                         of Title 11 U.S.C. A meeting of creditors has been held in this case pursuant to Section
                                         341 of Title 11 U.S.C. and the meeting was concluded.The debtor(s) was/were
                                         examined by the Trustee and was/were available for examination by any creditor or
                                         party in interest. The Trustee examined the debtor(s) as to current income, monthly
                                         budget, real and personalexemptions claimed pursuant to Section 522 of Title 11
                                         U.S.C. The Trustee is of the opinion that the latest Plan meets the requirements of
                                         Sections 1322 and 1325 of Title 11 U.S.C. and should be confirmed 06/16/20.
                                         (ETHERIDGE, LEROY) (Entered: 06/17/2020)

 37                 Jun 17, 2020         Certificate of No Response to Application for Compensation Filed by BRENNA HOPE
                                         MENDELSOHN on behalf of Edwell T. Henry II (related document(s)31). (Attachments:
                                         # 1 Service List) (MENDELSOHN, BRENNA) (Entered: 06/17/2020) (2 pgs; 2 docs)

 41                 Jun 19, 2020         Order Granting Application For Compensation (Related Doc # 31) Granting for
                                         BRENNA HOPE MENDELSOHN, fees awarded: $4250.00, expenses awarded: $0.00.
                                         (S., Antoinette) (Entered: 06/19/2020) (1 pg)

 42                 Jun 19, 2020         BNC Certificate of Mailing - Order ConfirmingChapter 13 Plan. Number of Notices
                                         Mailed: (related document(s) (Related Doc # 40)). No. of Notices: 1. Notice Date 06/19/
                                         2020. (Admin.) (Entered: 06/20/2020) (2 pgs)

 43                 Jun 21, 2020         BNC Certificate of Mailing - PDF Document. (related document(s) (Related Doc # 41)).
                                         No. of Notices: 1. Notice Date 06/21/2020. (Admin.) (Entered: 06/22/2020) (2 pgs)

 44                 Dec 3, 2020          Entry of Appearance and Request for Notices by REBECCA ANN SOLARZ Filed by
                                         REBECCA ANN SOLARZ on behalf of American Heritage Credit Union. (SOLARZ,
                                         REBECCA) Modified on 12/4/2020 (D., Virginia). (Entered: 12/03/2020) (1 pg)

 45                 Feb 26, 2021         Amended Schedule J - Your Expenses Filed by BRENNA HOPE MENDELSOHN on
                                         behalf of Edwell T. Henry II. (MENDELSOHN, BRENNA) (Entered: 02/26/2021) (2 pgs)

 46                 Feb 26, 2021         Modified Chapter 13 Plan Second Amended Plan Filed by Edwell T. Henry II (related
                                         document(s)29). (Attachments: # 1 Service List)(MENDELSOHN, BRENNA) (Entered:
                                         02/26/2021) (9 pgs; 2 docs)

 47                 Feb 26, 2021         Motion to Modify Plan Filed by Edwell T. Henry II Represented by BRENNA HOPE
                                         MENDELSOHN (Counsel). (Attachments: # 1 Proposed Order # 2 Service List)
                                         (MENDELSOHN, BRENNA) (Entered: 02/26/2021) (4 pgs; 3 docs)

 48                 Feb 26, 2021         Notice of (related document(s): 47 Motion to Modify Plan ) Filed by Edwell T. Henry II.
                                         Hearing scheduled 3/30/2021 at 10:00 AM at nix1 - courtroom #1. (MENDELSOHN,
                                         BRENNA) (Entered: 02/26/2021) (2 pgs)

 49                 Mar 26, 2021         Disclosure of Compensation of Attorney for Debtor in the amount of 5,240.00 Amended
                                         Debtor Edwell T. Henry II Filed by BRENNA HOPE MENDELSOHN on behalf of
                                         Edwell T. Henry II. (MENDELSOHN, BRENNA) (Entered: 03/26/2021) (1 pg)

 50                 Mar 26, 2021         Supplemental Application for Compensation for BRENNA HOPE MENDELSOHN,
                                         Debtor's Attorney, Period: to, Fee: $990.00, Expenses: $. Filed by BRENNA HOPE
                                         MENDELSOHN Represented by Self(Counsel). (Attachments: # 1 Notice # 2 Service
                                         List # 3 Proposed Order # 4 Exhibit B # 5 Exhibit A) (MENDELSOHN, BRENNA)
                                         (Entered: 03/26/2021) (9 pgs; 6 docs)

 51                 Mar 29, 2021         Modified Chapter 13 Plan Third Amended Plan Filed by Edwell T. Henry II (related


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 Entry #            Filing Date          Description
                                         document(s)46). (Attachments: # 1 Service List)(MENDELSOHN, BRENNA) (Entered:
                                         03/29/2021) (10 pgs; 2 docs)

 52                 Mar 30, 2021         Hearing Continued on 47 Motion to Modify Plan Filed by Edwell T. Henry II
                                         Represented by BRENNA HOPE MENDELSOHN (Counsel). (Attachments: # 1
                                         Proposed Order # 2 Service List) filed by Debtor Edwell T. Henry. Hearing scheduled
                                         4/13/2021 at 10:00 AM at nix1 - courtroom #1. (D., Stacey) (Entered: 03/31/2021)

 53                 Apr 12, 2021         Proposed Order Re: Motion to Modify Plan Filed by BRENNA HOPE MENDELSOHN
                                         on behalf of Edwell T. Henry II (related document(s)47). (MENDELSOHN, BRENNA)
                                         (Entered: 04/12/2021) (1 pg)

 54                 Apr 12, 2021         Certificate of No Response to Motion to Modify Plan Filed by BRENNA HOPE
                                         MENDELSOHN on behalf of Edwell T. Henry II (related document(s)47). (Attachments:
                                         # 1 Service List) (MENDELSOHN, BRENNA) (Entered: 04/12/2021) (2 pgs; 2 docs)

 56                 Apr 13, 2021         Hearing Held on 47 Motion to modify plan . Order entered . (D., Stacey) (Entered: 04/
                                         14/2021)

 55                 Apr 14, 2021         Order Granting Motion To Modify Plan (Related Doc # 47) (D., Stacey) (Entered: 04/
                                         14/2021) (1 pg)

 57                 Apr 16, 2021         BNC Certificate of Mailing - PDF Document. (related document(s) (Related Doc # 55)).
                                         No. of Notices: 1. Notice Date 04/16/2021. (Admin.) (Entered: 04/17/2021) (3 pgs)

 58                 Apr 23, 2021         Motion for Relief from Stay re: 1009 Pine Road, Sharon Hill, PA 19079-1817. Fee
                                         Amount $188.00, Filed by American Heritage Credit Union Represented by REBECCA
                                         ANN SOLARZ (Counsel). Objections due by 5/7/2021. (Attachments: # 1 Proposed
                                         Order # 2 Loan Documents # 3 Service List) (SOLARZ, REBECCA) (Entered: 04/23/
                                         2021) (19 pgs; 4 docs)

 59                 Apr 23, 2021         Notice of (related document(s): 58 Motion for Relief from Stay re: 1009 Pine Road,
                                         Sharon Hill, PA 19079-1817. Fee Amount $188.00,) Filed by American Heritage Credit
                                         Union. Hearing scheduled 5/18/2021 at 09:30 AM at nix1 - courtroom #1.
                                         (Attachments: # 1 Service List) (SOLARZ, REBECCA) (Entered: 04/23/2021) (3 pgs; 2
                                         docs)

                    Apr 23, 2021         Receipt of Motion for Relief From Stay( 20-10939-elf) [motion,mrlfsty] ( 188.00) Filing
                                         Fee. Receipt number AXXXXXXXX. Fee Amount $ 188.00. (re: Doc# 58) (U.S. Treasury)
                                         (Entered: 04/23/2021)

 60                 May 7, 2021          Response to Motion for Relief From Stay filed by Creditor American Heritage Credit
                                         Union Filed by Edwell T. Henry II (related document(s)58). (Attachments: # 1 Service
                                         List) (MENDELSOHN, BRENNA) (Entered: 05/07/2021) (3 pgs; 2 docs)

 61                 May 7, 2021          Certificate of No Response to Application for Compensation Filed by BRENNA HOPE
                                         MENDELSOHN on behalf of Edwell T. Henry II (related document(s)50). (Attachments:
                                         # 1 Service List) (MENDELSOHN, BRENNA) (Entered: 05/07/2021) (2 pgs; 2 docs)

 62                 May 10, 2021         Order Granting Application For Compensation (Related Doc # 50) Granting for
                                         BRENNA HOPE MENDELSOHN, fees awarded: $800.00, expenses awarded: $ (D.,
                                         Stacey) (Entered: 05/10/2021) (1 pg)

 63                 May 12, 2021         BNC Certificate of Mailing - PDF Document. (related document(s) (Related Doc # 62)).
                                         No. of Notices: 1. Notice Date 05/12/2021. (Admin.) (Entered: 05/13/2021) (3 pgs)


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 Entry #            Filing Date          Description
 64                 May 14, 2021         Modified Chapter 13 Plan Fourth amended Filed by Edwell T. Henry II (related
                                         document(s)51). (Attachments: # 1 Service List)(MENDELSOHN, BRENNA) (Entered:
                                         05/14/2021) (10 pgs; 2 docs)

 65                 May 14, 2021         Motion to Modify Plan Filed by Edwell T. Henry II Represented by BRENNA HOPE
                                         MENDELSOHN (Counsel). (Attachments: # 1 Service List # 2 Proposed Order)
                                         (MENDELSOHN, BRENNA) (Entered: 05/14/2021) (4 pgs; 3 docs)

 66                 May 14, 2021         Notice of (related document(s): 65 Motion to Modify Plan ) Filed by Edwell T. Henry II.
                                         Hearing scheduled 6/10/2021 at 10:00 AM at PENN4 - 4TH fl Courtroom.
                                         (MENDELSOHN, BRENNA) (Entered: 05/14/2021) (2 pgs)

 67                 May 14, 2021         Disclosure of Compensation of Attorney for Debtor in the amount of 6,230.00 Amended
                                         Debtor Edwell T. Henry II Filed by BRENNA HOPE MENDELSOHN on behalf of
                                         Edwell T. Henry II. (MENDELSOHN, BRENNA) (Entered: 05/14/2021) (1 pg)

 68                 May 14, 2021         Supplemental Application for Compensation for BRENNA HOPE MENDELSOHN,
                                         Debtor's Attorney, Period: to, Fee: $990.00, Expenses: $. Filed by BRENNA HOPE
                                         MENDELSOHN Represented by Self(Counsel). (Attachments: # 1 Exhibit B # 2
                                         Proposed Order # 3 Notice # 4 Service List # 5 Exhibit C # 6 Exhibit A)
                                         (MENDELSOHN, BRENNA) (Entered: 05/14/2021) (12 pgs; 7 docs)

 69                 May 17, 2021         Notice of Inaccurate Filing. In Re: 66 Notice of (related document(s): 65 Motion to
                                         Modify Plan ) Filed by Edwell T. Henry II. Hearing scheduled 6/10/2021 at 10:00 AM at
                                         PENN4 - 4TH fl Courtroom.. Corrected Document due by 6/1/2021. (D., Stacey)
                                         (Entered: 05/17/2021) (1 pg)

 70                 May 17, 2021         Notice of (related document(s): 65 Motion to Modify Plan ) Filed by Edwell T. Henry II.
                                         Hearing scheduled 6/15/2021 at 10:00 AM at Nix 1, Courtroom 1 . (Attachments: # 1
                                         Service List) (MENDELSOHN, BRENNA)**Modified to add courtroom location **
                                         Modified on 5/18/2021 (D., Stacey). (Entered: 05/17/2021) (3 pgs; 2 docs)

 71                 May 18, 2021         Hearing Held on 58 Motion for Relief from Stay re: 1009 Pine Road, Sharon Hill, PA
                                         19079-1817. Fee Amount $188.00, Filed by American Heritage Credit Union
                                         Represented by REBECCA ANN SOLARZ (Counsel). Objections due by 5/7/2021.
                                         (Attachments: # 1 Proposed Order # 2 Loan Documents # 3 Service List) filed by
                                         Creditor American Heritage Credit Union (related document(s),58). Settled, stip to be
                                         filed. (D., Stacey) (Entered: 05/19/2021)

 72                 May 19, 2021         Modified Chapter 13 Plan Fifth Amended Filed by Edwell T. Henry II (related
                                         document(s)64). (Attachments: # 1 Service List)(MENDELSOHN, BRENNA) (Entered:
                                         05/19/2021) (10 pgs; 2 docs)

 73                 May 19, 2021         Proposed Order Re: Motion to Modify Plan Filed by BRENNA HOPE MENDELSOHN
                                         on behalf of Edwell T. Henry II (related document(s)65). (MENDELSOHN, BRENNA)
                                         (Entered: 05/19/2021) (1 pg)

 74                 May 21, 2021         Stipulation By American Heritage Credit Union and Between Edwell T. Henry, II Motion
                                         for Relief from Stay re: 1009 Pine Road, Sharon Hill, PA 19079-1817. Filed by
                                         REBECCA ANN SOLARZ on behalf of American Heritage Credit Union (related
                                         document(s)58). (SOLARZ, REBECCA) (Entered: 05/21/2021) (3 pgs)

 75                 May 25, 2021         Order re: Granting the Stipulation By American Heritage Credit Union and Between
                                         Edwell T. Henry, II Motion for Relief from Stay re: 1009 Pine Road, Sharon Hill, PA
                                         19079-1817. Filed by REBECCA ANN SOLARZ on behalf of American Heritage Credit

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 Entry #            Filing Date          Description
                                         Union (related document(s)74). (D., Stacey) Modified on 5/25/2021 (D., Stacey).
                                         (Entered: 05/25/2021) (3 pgs)

 76                 May 27, 2021         BNC Certificate of Mailing - PDF Document. (related document(s) (Related Doc # 75)).
                                         No. of Notices: 1. Notice Date 05/27/2021. (Admin.) (Entered: 05/28/2021) (5 pgs)

 77                 Jun 10, 2021         Certificate of No Response to Motion to Modify Plan Filed by BRENNA HOPE
                                         MENDELSOHN on behalf of Edwell T. Henry II (related document(s)65). (Attachments:
                                         # 1 Service List) (MENDELSOHN, BRENNA) (Entered: 06/10/2021) (2 pgs; 2 docs)

 78                 Jun 10, 2021         Certificate of No Response to Supplemental Application for Compensation Filed by
                                         BRENNA HOPE MENDELSOHN on behalf of Edwell T. Henry II (related
                                         document(s)68). (Attachments: # 1 Service List) (MENDELSOHN, BRENNA) (Entered:
                                         06/10/2021) (2 pgs; 2 docs)

 79                 Jun 14, 2021         Amended Schedule J - Your Expenses Filed by BRENNA HOPE MENDELSOHN on
                                         behalf of Edwell T. Henry II. (MENDELSOHN, BRENNA) (Entered: 06/14/2021) (2 pgs)

 80                 Jun 15, 2021         Hearing Continued on 65 Motion to Modify Plan Filed by Edwell T. Henry II
                                         Represented by BRENNA HOPE MENDELSOHN (Counsel). (Attachments: # 1
                                         Service List # 2 Proposed Order) filed by Debtor Edwell T. Henry. Hearing scheduled
                                         7/6/2021 at 10:00 AM at nix1 - courtroom #1. (D., Stacey) (Entered: 06/16/2021)

 81                 Jul 4, 2021          Creditor Request for Notices Filed by Synchrony Bank. (Smith, Valerie) (Entered: 07/
                                         04/2021) (1 pg)

 82                 Jul 6, 2021          Hearing Held on 65 Motion to Modify Plan Filed by Edwell T. Henry II Represented by
                                         BRENNA HOPE MENDELSOHN (Counsel). (Attachments: # 1 Service List # 2
                                         Proposed Order) filed by Debtor Edwell T. Henry (related document(s),65). Order
                                         entered. (D., Stacey) (Entered: 07/07/2021)

 83                 Jul 7, 2021          Order Granting Motion To Modify Plan (Related Doc # 65) (D., Stacey) (Entered: 07/
                                         07/2021) (1 pg)

 84                 Jul 9, 2021          BNC Certificate of Mailing - PDF Document. (related document(s) (Related Doc # 83)).
                                         No. of Notices: 1. Notice Date 07/09/2021. (Admin.) (Entered: 07/10/2021) (3 pgs)

 85                 Jul 13, 2021         Order Granting in part, Denying in part Supplemental Application For Compensation
                                         (Related Doc 68) Granting in part, Denying in part for BRENNA HOPE
                                         MENDELSOHN, fees awarded: $800.00, expenses awarded: $0.00 (R., Sara)
                                         (Entered: 07/14/2021) (1 pg)

 86                 Jul 16, 2021         BNC Certificate of Mailing - PDF Document. (related document(s) (Related Doc # 85)).
                                         No. of Notices: 1. Notice Date 07/16/2021. (Admin.) (Entered: 07/17/2021) (3 pgs)

 87                 Sep 27, 2021         Supplemental Proof of Claim for CARES Forbearance Claim. (Claim # 6) Filed by
                                         Creditor WELLS FARGO BANK, N.A. . Filed by WELLS FARGO BANK, N.A..
                                         (Attachments: # 1 Certificate of Service)(MCCAFFERY, SARAH) (Entered: 09/27/
                                         2021) (3 pgs; 2 docs)

 88                 Oct 1, 2021          As of October 1, 2021, William C. Miller is no longer serving as the Standing Trustee.
                                         Kenneth E. West is hereby appointed as the Standing Trustee by the Office of the
                                         United States Trustee. . (A., Clarice) (Entered: 10/01/2021)

 89                 Nov 30, 2021         Motion to Direct the Debtor to Resolve the Delinquency in Forbearance and Post
                                         Petition Payments Filed by WELLS FARGO BANK, N.A. Represented by JILL

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                                         MANUEL-COUGHLIN (Counsel). (Attachments: # 1 EXHIBIT A # 2 EXHIBIT B # 3
                                         EXHIBIT C # 4 EXHIBIT D # 5 Proposed Order # 6 Service List) (MANUEL-
                                         COUGHLIN, JILL) (Entered: 11/30/2021) (33 pgs; 7 docs)

 90                 Nov 30, 2021         Notice of (related document(s): 89 Motion to Direct the Debtor to Resolve the
                                         Delinquency in Forbearance and Post Petition Payments) Filed by WELLS FARGO
                                         BANK, N.A.. Hearing scheduled 1/4/2022 at 01:00 PM at Philadelphia Telephone
                                         Hearing. (MANUEL-COUGHLIN, JILL) (Entered: 11/30/2021) (2 pgs)

 91                 Dec 15, 2021         Certificate of No Response to Motion to Direct the Debtor to resolve the delinquency in
                                         Forbearance and Post Petition Payments Filed by HARRY B. REESE on behalf of
                                         WELLS FARGO BANK, N.A. (related document(s)89). (REESE, HARRY) (Entered: 12/
                                         15/2021) (2 pgs)

 92                 Jan 4, 2022          Hearing Continued on 89 Motion to Direct the Debtor to Resolve the Delinquency in
                                         Forbearance and Post Petition Payments Filed by WELLS FARGO BANK, N.A.
                                         Represented by JILL MANUEL-COUGHLIN (Counsel). (Attachments: # 1 EXHIBIT A #
                                         2 EXHIBIT B # 3 EXHIBIT C # 4 EXHIBIT D # 5 Proposed Order # 6 Service List) filed
                                         by Creditor WELLS FARGO BANK, N.A.. Hearing scheduled 2/1/2022 at 01:00 PM at
                                         Courtroom #1. (D., Stacey) (Entered: 01/05/2022)

 93                 Jan 19, 2022         Notice of Change of Address Filed by WELLS FARGO BANK, N.A.. (Branas, Karen)
                                         (Entered: 01/19/2022) (3 pgs)

 94                 Jan 24, 2022         Support Document Amended Supplemental Proof of Claim for CARES Forbearance
                                         Claim Filed by SARAH K. MCCAFFERY on behalf of WELLS FARGO BANK, N.A.
                                         (related document(s)87). (Attachments: # 1 Redacted Modification Docs)
                                         (MCCAFFERY, SARAH) (Entered: 01/24/2022) (14 pgs; 2 docs)

 95                 Feb 1, 2022          Hearing Continued on 89 Motion to Direct the Debtor to Resolve the Delinquency in
                                         Forbearance and Post Petition Payments Filed by WELLS FARGO BANK, N.A.
                                         Represented by JILL MANUEL-COUGHLIN (Counsel). (Attachments: # 1 EXHIBIT A #
                                         2 EXHIBIT B # 3 EXHIBIT C # 4 EXHIBIT D # 5 Proposed Order # 6 Service List) filed
                                         by Creditor WELLS FARGO BANK, N.A.. Hearing scheduled 3/1/2022 at 01:00 PM at
                                         Courtroom #1. (D., Stacey) (Entered: 02/02/2022)

 96                 Feb 15, 2022         Praecipe to Withdraw Motion to Direct the Debtor to Resolve the Delinquency in
                                         Forbearance and Post Petition Payments Filed by SARAH K. MCCAFFERY on behalf
                                         of WELLS FARGO BANK, N.A. (related document(s)89). (MCCAFFERY, SARAH)
                                         (Entered: 02/15/2022) (2 pgs)

 97                 Feb 15, 2022         Certification of Default of re: 1009 Pine Road, Sharon Hill, PA 19079-1817 Filed by
                                         REBECCA ANN SOLARZ on behalf of American Heritage Credit Union (related
                                         document(s)75, 74, 58). (Attachments: # 1 Proposed Order # 2 Notice of Default # 3
                                         Service List) (SOLARZ, REBECCA) (Entered: 02/15/2022) (5 pgs; 4 docs)

 98                 Feb 16, 2022         Response to Certification of Default filed by Creditor American Heritage Credit Union
                                         Filed by Edwell T. Henry II (related document(s)97). (Attachments: # 1 Service List)
                                         (MENDELSOHN, BRENNA) (Entered: 02/16/2022) (2 pgs; 2 docs)

 99                 Feb 23, 2022         Hearing Set 97 Certification of Default of re: 1009 Pine Road, Sharon Hill, PA 19079-
                                         1817 Filed by REBECCA ANN SOLARZ on behalf of American Heritage Credit Union
                                         (related document(s)75, 74, 58). (Attachments: # 1 Proposed Order # 2 Notice of
                                         Default # 3 Service List) filed by Creditor American Heritage Credit Union. Hearing
                                         scheduled 3/8/2022 at 09:30 AM at Courtroom #1. (D., Stacey) (Entered: 02/23/2022)

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 Entry #            Filing Date          Description
                                         (1 pg)

 100                Feb 25, 2022         BNC Certificate of Mailing - Hearing Set. Number of Notices Mailed: (related
                                         document(s) (Related Doc # 99)). No. of Notices: 13. Notice Date 02/25/2022. (Admin.)
                                         (Entered: 02/26/2022) (4 pgs)

 101                Mar 4, 2022          Praecipe to Withdraw Certification of Default Filed by REBECCA ANN SOLARZ on
                                         behalf of American Heritage Credit Union (related document(s)97). (SOLARZ,
                                         REBECCA) (Entered: 03/04/2022) (1 pg)

 102                Mar 8, 2022          Hearing Held on 97 Certification of Default of re: 1009 Pine Road, Sharon Hill, PA
                                         19079-1817 Filed by REBECCA ANN SOLARZ on behalf of American Heritage Credit
                                         Union , Withdrawn . (D., Stacey) (Entered: 03/09/2022)

 103                Mar 21, 2022         Withdrawal of Appearance of Sarah K. McCaffery and entry of appearance of Jill
                                         Manuel-Coughlin . (A., Clarice) (Entered: 03/21/2022) (5 pgs)

 104                Sep 13, 2022         Motion for Relief from Stay 706 B Sedgefield Drive, Unit 706, Mount Laurel Township,
                                         NJ 08054. Fee Amount $188.00, Filed by WELLS FARGO BANK, N.A. Represented
                                         by JILL MANUEL-COUGHLIN (Counsel). Objections due by 9/28/2022. (Attachments:
                                         # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Proposed Order # 6 Service
                                         List) (MANUEL-COUGHLIN, JILL) (Entered: 09/13/2022) (37 pgs; 7 docs)

 105                Sep 13, 2022         Notice of (related document(s): 104 Motion for Relief from Stay 706 B Sedgefield
                                         Drive, Unit 706, Mount Laurel Township, NJ 08054. Fee Amount $188.00,) Filed by
                                         WELLS FARGO BANK, N.A.. Hearing scheduled 10/11/2022 at 09:30 AM at
                                         Philadelphia Telephone Hearing. (MANUEL-COUGHLIN, JILL) (Entered: 09/13/2022)
                                         (2 pgs)

                    Sep 13, 2022         Receipt of Motion for Relief From Stay( 20-10939-elf) [motion,mrlfsty] ( 188.00) Filing
                                         Fee. Receipt number AXXXXXXXX. Fee Amount $ 188.00. (re: Doc# 104) (U.S.
                                         Treasury) (Entered: 09/13/2022)

 106                Sep 23, 2022         Withdrawal of Appearance of Rebecca Ann Solarz and entry of appearance of Brian
                                         Craig Nicholas . (A., Clarice) (Entered: 09/23/2022) (39 pgs)

 107                Sep 28, 2022         Response to Motion for Relief From Stay filed by Creditor WELLS FARGO BANK, N.A.
                                         Filed by Edwell T. Henry II (related document(s)104). (Attachments: # 1 Service List)
                                         (MENDELSOHN, BRENNA) (Entered: 09/28/2022) (4 pgs; 2 docs)

 108                Oct 11, 2022         Hearing Continued on 104 Motion for Relief from Stay 706 B Sedgefield Drive, Unit
                                         706, Mount Laurel Township, NJ 08054. Fee Amount $188.00, Filed by WELLS
                                         FARGO BANK, N.A. Represented by JILL MANUEL-COUGHLIN (Counsel). Objections
                                         due by 9/28/2022. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D
                                         # 5 Proposed Order # 6 Service List) filed by Creditor WELLS FARGO BANK, N.A..
                                         Hearing scheduled 11/8/2022 at 09:30 AM at Courtroom #1. (D., Stacey) (Entered: 10/
                                         12/2022)

 109                Nov 8, 2022          Hearing Continued on 104 Motion for Relief from Stay 706 B Sedgefield Drive, Unit
                                         706, Mount Laurel Township, NJ 08054. Fee Amount $188.00, Filed by WELLS
                                         FARGO BANK, N.A. Represented by JILL MANUEL-COUGHLIN (Counsel). Objections
                                         due by 9/28/2022. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D
                                         # 5 Proposed Order # 6 Service List) filed by Creditor WELLS FARGO BANK, N.A..
                                         Hearing scheduled 12/6/2022 at 09:30 AM at Courtroom #1. (D., Stacey) (Entered: 11/
                                         09/2022)

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 110                Dec 2, 2022          Hearing rescheduled (TIME ONLY) on 104 Motion for Relief from Stay 706 B
                                         Sedgefield Drive, Unit 706, Mount Laurel Township, NJ 08054 Filed by WELLS
                                         FARGO BANK, N.A. Represented by JILL MANUEL-COUGHLIN (Counsel). Objections
                                         due by 9/28/2022. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D
                                         # 5 Proposed Order # 6 Service List) filed by Creditor WELLS FARGO BANK, N.A..
                                         Hearing scheduled 12/6/2022 at 11:30 AM at Philadelphia Telephone Hearing. (B.,
                                         Pamela) (Entered: 12/02/2022)

 111                Dec 6, 2022          Hearing Held on 104 Motion for Relief from Stay 706 B Sedgefield Drive, Unit 706,
                                         Mount Laurel Township, NJ 08054. Fee Amount $188.00, Filed by WELLS FARGO
                                         BANK, N.A. Represented by JILL MANUEL-COUGHLIN (Counsel). Objections due by
                                         9/28/2022. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5
                                         Proposed Order # 6 Service List) filed by Creditor WELLS FARGO BANK, N.A. (related
                                         document(s),104). Settled, stip to be filed. (D., Stacey) (Entered: 12/07/2022)

 112                Dec 30, 2022         Motion to Dismiss Case for Failure to Make Plan Payments Filed by KENNETH E.
                                         WEST Represented by KENNETH E. WEST (Counsel). (Attachments: # 1 Proposed
                                         Order) (WEST, KENNETH) (Entered: 12/30/2022) (2 pgs; 2 docs)

 113                Dec 30, 2022         Notice of (related document(s): 112 Motion to Dismiss Case for Failure to Make Plan
                                         Payments ) Filed by KENNETH E. WEST. Hearing scheduled 2/7/2023 at 10:00 AM at
                                         Courtroom #1. (WEST, KENNETH) (Entered: 12/30/2022) (2 pgs)

 114                Dec 30, 2022         Certificate of Service Filed by KENNETH E. WEST on behalf of KENNETH E. WEST
                                         (related document(s)112, 113). (WEST, KENNETH) (Entered: 12/30/2022) (1 pg)

 115                Jan 13, 2023         Stipulation of Settlement By WELLS FARGO BANK, N.A. and Between WELLS
                                         FARGO BANK, N.A. and Debtor Filed by HARRY B. REESE on behalf of WELLS
                                         FARGO BANK, N.A. (related document(s)104). (Attachments: # 1 Proposed Order)
                                         (REESE, HARRY) (Entered: 01/13/2023) (3 pgs; 2 docs)

 116                Jan 17, 2023         Notice of Appearance and Request for Notice by MICHAEL JOHN CLARK Filed by
                                         MICHAEL JOHN CLARK on behalf of American Heritage Credit Union. (CLARK,
                                         MICHAEL) (Entered: 01/17/2023) (3 pgs)

 117                Jan 18, 2023         Order granting the Stipulation between the Debtor and Wells Fargo Bank, N.A.
                                         resolving the Motion for Relief from the Automatic Stay. (related document(s)104, 115).
                                         (S., Antoinette) (Entered: 01/18/2023) (1 pg)

 118                Jan 20, 2023         BNC Certificate of Mailing - PDF Document. (related document(s) (Related Doc #
                                         117)). No. of Notices: 1. Notice Date 01/20/2023. (Admin.) (Entered: 01/21/2023) (3
                                         pgs)

 119                Feb 7, 2023          Hearing Continued on 112 Motion to Dismiss Case for Failure to Make Plan Payments
                                         Filed by KENNETH E. WEST Represented by KENNETH E. WEST (Counsel).
                                         (Attachments: # 1 Proposed Order) filed by Trustee KENNETH E. WEST. Hearing
                                         scheduled 2/21/2023 at 10:00 AM at Courtroom #1. (D., Stacey) (Entered: 02/08/2023)

 120                Feb 21, 2023         Order Granting Motion to Dismiss Case for Failure to Make Plan Payments. Debtor
                                         Dismissed. (Related Doc # 112) (D., Stacey) (Entered: 02/21/2023) (1 pg)

 121                Feb 21, 2023         Hearing Held on 112 Trustee's Motion to dismiss case. Order entered . (D., Stacey)
                                         (Entered: 02/22/2023)

 122                Feb 23, 2023         BNC Certificate of Mailing - PDF Document. (related document(s) (Related Doc #


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                                         120)). No. of Notices: 13. Notice Date 02/23/2023. (Admin.) (Entered: 02/24/2023) (5
                                         pgs)

                    Mar 1, 2023          Case reassigned to Judge Patricia M. Mayer Involvement of Judge Eric L. Frank
                                         Terminated. See Miscellaneous Case Number 23-03003-mdc. (A., Clarice) (Entered:
                                         03/01/2023)




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